Case 2:19-cr-00312 Document1 Filed on 03/08/19 in TXSD ‘SEALED

AO 91 (Rev, 11/11) Criminal Complaint

 

 

 

 

 

 

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UNITED STATES DISTRICT COURT —SX™emBpeistot Texes
for the .
Southern District of Texas MAR 8 2019
United States of America ) David J. Bradley, Clerk of Court
v. ) .
Lance ESSWEIN Case No. ol | q m\ QA5%
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)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of February 28, 2019 in the county of San Patricio in the
Southem District of Texas , the defendant(s) violated:
Code Section , Offense Description
21 USC 841, 846 did knowingly and intentionally possess with Intend to distribute a Schedule |

Controlled Substance; to wit Methamphetamine,

This criminal complaint is based on these facts:

See Attached Affidavit

@ Continued on the attached sheet.

 

HSI TFO Jamie Pelfrey
Printed name and litle

Swom to before me and signed in my presence.

pate: March %, 2019

City and state: Corpus Christi, Texas _ USMJB. Janice Ellington
‘ = Printed name and title

   
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AFFIDAVIT

|, Pelfrey Jamie is currently a Detective with the Corpus Christi Police Department and a Task
Force Officer (TFO) with the United States Department of Homeland Security Investigations
(HSI). Your affiant has been a commissioned police officer since 01-2001 and currently hold a
masters peace officers license with the State of Texas. Your affiant has been assigned as a TFO
since 09-2018. Your affiant currently works in an undercover capacity investigating narcotics and
sexually oriented offenses. Your affiant investigates criminal violations relating to offenses
committed against the United States and the State of Texas including but not limited to
Transnational Gang Organizations involved in controlled substance violations, sexually oriented
crimes, and money laundering. Your affiant has worked closely with other law enforcement
agents and officers who have engaged in numerous investigations involving illegal transnational
gang activity, narcotic violations, vice related offenses including prostitution and human
trafficking. Your affiant has attended numerous courses and continuous training involving the
performance of his current assignment and duties.
Department of Homeland Security Investigation (HSI) Agents and your affiant obtained
information that Lance ESSWEIN, a retired Naval Commander, was distributing large amounts of
methamphetamine in the Coastal Bend area. Your affiant developed a source of information
(SO] 1) who is a member of Lance ESSWEIN drug trafficking organization. The information he has
provided has been corroborated through phone calls, text messages, and other sources of
information identified during the investigation. On 02/28/2019, SOI 1 arranged a purchase of
methamphetamine from Lance ESSWEIN under the direction of your affiant. SOI 1 purchased
methamphetamine from Lance ESSWEIN under constant supervision and policies pertaining to a
controlled delivery of HSI and your affiant. HS! provided the US Currency for the purchase of the
methamphetamine. Lance ESSWEIN was observed by Agents (HSI) and Officers with the
Department of Public Safety (DPS) leaving from his residence directly to SO| 1. During the
controlled delivery, SOI 1 purchased approximately 118 grams of methamphetamine which was
observed by your affiant. Your affiant processed, and field tested the methamphetamine which
indicated a positive test.

 

 

 
